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il.l.‘§i§l$:,
IN THE UNITED STATES DISTRICT COURT
SEF’ 2 1 2017
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CRIMINALNo. l /é 66% n/U/

Counts 1-2, 7: 18 U.S.C. §§ 7, 2241(0),
and 2246(2)(€): Aggravated Sexual
Abuse;

FOR THE DISTRICT OF NEW MEXICO
UNITED STATES OF AMERICA, w
Plaintiff,
vs.
ARTHUR PERRAULT,

Defendant. Counts 3, 6: 18 U.S.C. §§ 7, 2241(0), and

2246(2)(B): Aggravated Sexual Abuse;

Count 4: 18 U.S.C. §§ 7, 2241(c), and
2246(2)(D): Aggravated Sexual Abuse;

Count 51 18 U.S.C. §§ 7, 2244(a)(5), and
2246(3): Abusive Sexual Contact

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1 N D l C T M E N T
The Grand Jury charges:
Count 1

On or about between 1991 and 1992, in the special maritime and territorial jurisdiction of
the United States, namely Kirtland Air Force Base, in Bernalillo County, in the District of New
Mexico, the defendant, ARTHUR PE,RRAULT, unlawfully and knowingly engaged in a sexual
act, separate and apart from the act charged in Count 2, with John Doe, a child who had not then
attained the age of twelve (12) years, and the sexual act consisted of penetration, however slight,
of the anal opening of John Doe by a hand and finger of the defendant, with the intent to abuse,

humiliate, harass, degrade, arouse, and gratify the sexual desire of any person.

In violation Of 18 U.s.C. §§ 7, 2241(¢), and 2246(2)(<:).

 

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On or about between 1991 and 1992, in the special maritime and territorial jurisdiction of
the United States, namely Kirtland Air Force Base, in Bernalillo County, in the District of New
Mexico, the defendant, ARTHUR PERRAULT, unlawfully and knowingly engaged in a sexual
act, separate and apart from the act charged in Count 1, with John Doe, a child who had not then
attained the age of twelve (12) years, and the sexual act consisted of penetration, however slight,
of the anal opening of John Doe by a hand and finger of the defendant, with the intent to abuse,
humiliate, harass, degrade, arouse, and gratify the sexual desire of any person.

In violation of 18 U.S.C. §§ 7, 2241(c), and 2246(2)(€).

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On or about between 1991 and 1992, in the special maritime and territorial jurisdiction of
the United States, namely Kirtland Air Force Base, in Bemalillo County, in the District of NeW
Mexico, the defendant, ARTHUR PERRAULT, unlawfully and knowingly engaged in a sexual
act with John Doe, a child who had not then attained the age of twelve (12) years, and the sexual
act consisted of the contact between the defendant’s mouth and John Doe’s penis.

ln Violation of 18 U.S.C. §§ 7, 2241(0), and 2246(2)(B).

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On or about between 1991 and 1992, in the special maritime and territorial jurisdiction of
the United States, namely Kirtland Air Force Base, in Bernalillo County, in the District of New
Mexico, the defendant, ARTHUR PERRAULT, unlawfully and knowingly engaged in a sexual
act With John Doe, a child who had not then attained the age of twelve (12) years, and the sexual

act consisted of the intentional touching, not through the clothing, of the genitalia of John Doe,

With the intent to abuse, humiliate, harass, degrade, arouse, and gratify the sexual desire of any
person.

ln violation of 18 U.S.C. §§ 7, 2241(c), and 2246(2)(D).

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On or about between 1991 and 1992, in the special maritime and territorial jurisdiction of
the United States, namely Kirtland Air Force Base, in Bernalillo County, in the District of New
Mexico, the defendant, ARTHUR PERRAULT, unlawfully and knowingly engaged in and
caused sexual contact with John Doe, a child who had not then attained the age of twelve (12)
years, and the sexual contact consisted of the defendant intentionally touching John Doe’s
genitalia directly and through the clothing, with the intent to abuse, humiliate, harass, degrade,
arouse, and gratify the sexual desire of any person.

In violation of 18 U.S.C. §§ 7, 2244(a)(5), and 2246(3).

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On or about between 1991 and 1992, in the special maritime and territorial jurisdiction of
the United States, namely the Santa Fe National Cemetery, in Santa Fe County, in the District of
New Mexico, the defendant, ARTHUR PERRAULT, unlawfully and knowingly engaged in a
sexual act with John Doe, a child who had not then attained the age of twelve (12) years, and the
sexual act consisted of the contact between the defendant’s mouth and John Doe’s penis.

In violation of 18 U.S.C. §§ 7, 2241(0), and 2246(2)(B).

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On or about between 1991 and 1992, in the special maritime and territorial jurisdiction of

the United States, namely the Santa Fe National Cemetery, in Santa Fe County, in the District of

New Mexico, the defendant, ARTHUR PERRAULT, unlawfully and knowingly engaged in a

sexual act with John Doe, a child Who had not then attained the age of twelve (12) years, and the
sexual act consisted of penetration, however slight, of the anal opening of John Doe by a hand
and finger of the defendant, with the intent to abuse, humiliate, harass, degrade, arouse, and
gratify the Sexual desire of any person.

ln violation of 18 U.S.C. §§ 7, 224l(c), and 2246(2)(€).

A TRUE BILL:

/s/

§ j FOREPERSON OF THE GRAND JURY

Kssistant?\€’ Unite States /.Zttorney

 

